Case 2:18-cv-01269-JLS-JCG Document 65-1 Filed 07/09/18 Page 1 of 4 Page ID #:2372



  1   Jeffrey B. Isaacs, Esq., SBN 117104
      Jerome H. Friedberg, Esq., SBN 125663
  2   Paige Shen, Esq., SBN 162122
      Robert Gookin, Esq., SBN 251601
  3   ISAACS | FRIEDBERG LLP
      555 S. Flower Street, Suite 4250
  4   Los Angeles, California 90071
      Telephone: (213) 929-5534
  5   Facsimile: (213) 955-5794
      Email: jisaacs@ifcounsel.com
  6            jfriedberg@ifcounsel.com
               pshen@ifcounsel.com
  7            rgookin@ifcounsel.com
  8   Attorneys for Plaintiffs STM Atlantic N.V.,
      STM Group, Inc., Emil Youssefzadeh and Umar Javed
  9
 10                              UNITED STATES DISTRICT COURT
 11                            CENTRAL DISTRICT OF CALIFORNIA
 12   STM ATLANTIC N.V., a Dutch            Case No. 2:18-cv-01269-JLS-JCG
      company; STM GROUP, INC., a
 13   Delaware corporation;
      EMIL YOUSSEFZADEH, an                 DECLARATION OF
 14   individual; and UMAR JAVED, an        JEROME H. FRIEDBERG IN SUPPORT
      individual,                           OF MOTION FOR LEAVE TO FILE
 15
                                            [PROPOSED] SECOND AMENDED
                       Plaintiffs,          COMPLAINT
 16
                 vs.
 17                                         [Filed concurrently with: (1) Notice of
      DONG YIN DEVELOPMENT                  Motion and Motion for Leave to File
 18   (HOLDINGS) LIMITED, a Hong            [Proposed Second Amended Complaint; and
      Kong unlimited company; CHINA         (2) [Proposed] Order]
 19   ORIENT ASSET MANAGEMENT
      (INTERNATIONAL) HOLDING               Assigned to Hon. Josephine L. Staton
 20   LIMITED, a Hong Kong limited
      company; and LUDWIG CHANG,
 21   an individual,                        HEARING
                                            Date:   September 7, 2018
 22                                         Time:   2:30 p.m.
                 Defendants.
 23                                         Place:  Courtroom 10A
 24                                         Complaint Filed:      Feb. 15, 2018
                                            FAC Filed:            Feb. 25, 2018
 25
 26
 27
 28

                 DECLARATION OF JEROME H. FRIEDBERG IN SUPPORT OF MOTION FOR
                     LEAVE TO FILE [PROPOSED] SECOND AMENDED COMPLAINT
      244930.2
Case 2:18-cv-01269-JLS-JCG Document 65-1 Filed 07/09/18 Page 2 of 4 Page ID #:2373



  1                         DECLARATION OF JEROME H. FRIEDBERG
  2              I, Jerome Friedberg, declare and state as follows:
  3              1.    I am an attorney licensed to practice law in the State of California. I am a
  4   partner at Isaacs | Friedberg LLP, counsel of record for plaintiffs STM Atlantic N.V.,
  5   STM Group, Inc., Emil Youssefzadeh and Umar Javed (collectively, “Plaintiffs”) in this
  6   action.
  7              2.    I make this declaration in support of Plaintiffs’ Notice of Motion and
  8   Motion for Leave to File [Proposed] Second Amended Complaint (“SAC”) in this
  9   action. I have personal knowledge of the facts contained in this Declaration, and could
 10   and would testify to them if called as a witness in this matter.
 11   Meet and Confer.
 12              3.    On June 21, 2018, Robert Gookin of my firm and I met and conferred
 13   with counsel for defendants Dong Yin Development (Holdings) Limited (“Dong Yin”),
 14   China Orient Asset Management (International) Holding Limited (“COAMI”), and
 15   Ludwig Chang (“Chang”) (collectively, “Defendants”) to discuss resolution of the
 16   Motion to Amend pursuant to Local Rule 7-3. During the conference, I explained the
 17   nature of the proposed amendments, including that, although some of the factual
 18   allegations were being changed, no new causes of action were being added against the
 19   current Defendants. Defendants indicated that, even though no new causes of action
 20   were being asserted against them, they were unable to stipulate to the filing of the SAC
 21   without having sufficient time to review the final draft of the proposed SAC and
 22   discuss it with their clients. We were still drafting the SAC; however, and could not
 23   provide a final draft seven or more days prior to filing this motion, which was the
 24   deadline for meeting and conferring pursuant to the Local Rules. As a result, the
 25   parties were not able to informally resolve this matter during the meet and confer.
 26              4.    On June 25, 2018, I sent defense counsel a draft SAC, but explained that
 27   we were still making further revisions to the SAC. On July 5, 2018, I scheduled a
 28   telephone conference with counsel for Defendants, which was held later that day.
                                              -1-
                 DECLARATION OF JEROME H. FRIEDBERG IN SUPPORT OF MOTION FOR
                     LEAVE TO FILE [PROPOSED] SECOND AMENDED COMPLAINT
      244930.2
Case 2:18-cv-01269-JLS-JCG Document 65-1 Filed 07/09/18 Page 3 of 4 Page ID #:2374



  1   During the telephone conference, I orally gave defense counsel an update on the status
  2   of our draft SAC, identified the additional defendants we intended to name, again
  3   confirmed that we were not adding any causes of action as to the existing Defendants
  4   and advised defense counsel that we were continuing to draft the SAC.
  5              5.   As the proposed SAC is now in final, the parties expect to conduct a
  6   further meet and confer after the filing of this Motion, and will promptly notify the
  7   Court if all of the current Defendants stipulate that the proposed SAC may be filed as
  8   the operative complaint.
  9   Status of the Litigation.
 10              6.   This matter is still in its earliest stages. To date, none of the Defendants
 11   have filed an answer or other responsive pleading to either the original Complaint or
 12   the First Amended Complaint (“FAC”). Moreover, discovery has not yet commenced,
 13   and the Court has not issued a scheduling order or set a trial date. Nor has the Court
 14   previously had occasion to rule on or consider the sufficiency of the Complaint or the
 15   FAC.
 16   The [Proposed] Second Amended Complaint.
 17              7.   Attached to the Motion as Exhibit A is a true and correct copy of the
 18   proposed SAC.
 19   //
 20   //
 21   //
 22   //
 23   //
 24   //
 25   //
 26   //
 27   //
 28   //
                                             -2-
                 DECLARATION OF JEROME H. FRIEDBERG IN SUPPORT OF MOTION FOR
                     LEAVE TO FILE [PROPOSED] SECOND AMENDED COMPLAINT
      244930.2
Case 2:18-cv-01269-JLS-JCG Document 65-1 Filed 07/09/18 Page 4 of 4 Page ID #:2375
